         Case 4:12-cr-00046-RH-MAF Document 39 Filed 06/23/20 Page 1 of 4
                                                                               Page 1 of 4




              IN THE UNITED STATES DISTRICT COURT FOR THE
                      NORTHERN DISTRICT OF FLORIDA
                          TALLAHASSEE DIVISION


UNITED STATES OF AMERICA

v.                                             CASE NO. 4:12cr46-RH

ESAIAS J. TUCKER,

                   Defendant.

_____________________________/


                       ORDER DENYING A SENTENCE REDUCTION


         The defendant Esaias J. Tucker pled guilty to offenses involving crack as

well as powder cocaine. He is serving a 20-year minimum mandatory sentence. He

has submitted a letter—he explicitly says it is not a motion—asking for a sentence

reduction. He correctly notes that, under the First Step Act, he would not face the

same 20-year minimum today. But the First Step Act provision that produces this

result is not retroactive; a sentence cannot be reduced on this basis.

                                           I

         The penalty range for a crack-cocaine trafficking offense can increase based

on the quantity of the drug involved in the offense and based on the defendant’s

prior convictions.




Case No. 4:12cr46-RH
         Case 4:12-cr-00046-RH-MAF Document 39 Filed 06/23/20 Page 2 of 4
                                                                                 Page 2 of 4




         The Fair Sentencing Act took effect in 2010. It changed the quantity of crack

that triggers an increase in the penalty range. The increase previously triggered by

5 grams or more now was triggered by 28 grams or more. See Fair Sentencing Act,

Pub. L. No. 111-220, § 2(a)(2), 124 Stat. 2372 (2010). The increase previously

triggered by 50 grams or more now was triggered by 280 grams or more. Id.

§ 2(a)(1). But these changes were not retroactive—an individual who already had

been sentenced could not obtain a sentence reduction on this basis.

         The First Step Act, which took effect in 2018, makes these changes partially

retroactive, allowing (but not requiring) a court to reduce the sentence of a person

whose penalty range would have been different based on the Fair Sentencing Act’s

changes in the quantity of crack that triggers an increase. See First Step Act of

2018, Pub. L. No. 115-391, § 404(b), 132 Stat. 5194, 5222.

         The First Step Act also changes the definition of prior convictions that can

subject a defendant to an increase in the penalty range and sometimes changes the

low end of a range that is increased based on one or more prior convictions. But

these changes, standing alone, do not allow a court to reduce a sentence already

imposed.

         The change in the definition of prior convictions has two parts. First, under

the prior law, any “felony drug” conviction—including one for mere possession—

could support an increase, regardless of the sentence actually imposed or how old



Case No. 4:12cr46-RH
         Case 4:12-cr-00046-RH-MAF Document 39 Filed 06/23/20 Page 3 of 4
                                                                                   Page 3 of 4




the conviction was. See 21 U.S.C. § 841(b)(1)(A) & (B). But under the First Step

Act, only a “serious drug felony” can trigger an increase. Only a drug trafficking

offense qualifies as a serious drug felony, and even then, only if the statutory

maximum sentence was ten years or more, the defendant actually served more than

one year, and the defendant was released not more than 15 years before the new

offense began. See First Step Act § 401(a)(1). Second, the First Step Act adds a

new category of prior offenses that can trigger an increase: a “serious violent

felony” meeting specified conditions, including that the defendant actually served

more than one year in prison. Id.

                                           II

         Mr. Tucker pled guilty in 2012—after the effective date of the Fair

Sentencing Act—to a conspiracy involving 280 grams or more of crack. The Fair

Sentencing Act’s drug quantity changes were already in effect and were properly

applied. Mr. Tucker does not seek a sentence reduction based on those changes and

could not reasonably do so.

         Mr. Tucker faced a minimum mandatory sentence of 20 years, not 10,

because he had a prior “felony drug” conviction. The conviction was for simple

possession of cocaine. Under the First Step Act, this is not a “serious drug felony.”

The minimum sentence would be 10 years, not 20. But this change is not

retroactive. The sentence cannot be reduced on this basis.



Case No. 4:12cr46-RH
         Case 4:12-cr-00046-RH-MAF Document 39 Filed 06/23/20 Page 4 of 4
                                                                               Page 4 of 4




                                          III

         Mr. Tucker also seems to suggest that Department of Justice policy was not

to seek an enhanced minimum sentence—or perhaps that the policy later changed

to not seek an enhanced minimum—in circumstances like Mr. Tucker’s. Any such

policy is not binding and is not a basis on which a court can reduce a sentence. See

18 U.S.C. § 3582 (forbidding a district court from reducing a sentence with limited

exceptions not including a Department of Justice policy or a change in Department

of Justice policy).

                                          IV

         For these reasons,

         IT IS ORDERED:

         No sentence reduction or other relief will be granted based on Mr. Tucker’s

letter, ECF No. 36.

         SO ORDERED on June 23, 2020.

                                        s/Robert L. Hinkle
                                        United States District Judge




Case No. 4:12cr46-RH
